       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Mark Spencer Cady
       v. Commonwealth of Virginia
       Record No. 1595-19-4
       Opinion rendered by Judge Malveaux on
        August 11, 2020
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Alexandria City Public Schools, et al.
   v. Kerri Handel
   Record No. 1582-18-4
   Opinion rendered by Judge Huff
    on May 14, 2019
   Judgment of Court of Appeals vacated and matter remanded to this Court
     for further proceedings by opinion rendered on October 15, 2020 (190957)

2. Joshua Gaines and
    Makiba Gaines
    v. Department of Housing &amp; Community
        Development State Building Code
        Technical Review Board and City of Norfolk
   Record No. 1090-19-1
    Opinion rendered by Judge Humphreys
     on January 7, 2020
    Refused (200352)

3. Justin Leon Walker
    v. Commonwealth of Virginia
   Record No. 1945-18-1
    Opinion rendered by Judge Russell
     on March 24, 2020
    Refused (200460)
